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                            UNITED STATES BANKRUPTCY COURT
                                   Middle District of Florida
                                      Orlando Division


IN RE:                                                            Case No:           6:14-bk-01818-KSJ

 MARYANNE KARAMAN

                                                                  Chapter 13
                                                 Debtor


                 Chapter 13 Trustee's Notice of Completed Plan - With Discharge


    Comes now, Laurie K. Weatherford, Chapter 13 Trustee in the above styled action and files herewith her
Notice of Completed Plan and respectfully shows the Court as follows:

   The Chapter 13 Trustee has verified that the debtor in the above referenced Chapter 13 case has completed
payments under the confirmed Chapter 13 Plan.

     The Debtor has completed applicable requirements contained in 11 U.S.C. Section 1328, including but not
limited to, domestic support obligation certifications contained in Section 1328(a) and certification of the
completion of an approved instructional course concerning personal financial management set forth in Section
1328(g)(1) and therefore are entitled to discharge.

    The Chapter 13 Trustee's Final Report and Account will be submitted as soon as all payments made to
creditors on behalf of the debtor in the above referenced case have been negotiated and no outstanding
disbursements remain. This case will remain open pending receipt of the Chapter 13 Trustee's Final Report and
Account. When said report is submitted, an order discharging the Chapter 13 Trustee will be entered in this case.
Any creditor wishing to object to the discharge of the Trustee for any reason, must file an Objection with the
Court within 30 days of the date of this Notice.

    This is to Certify that I have this day served all creditors and parties in the interest as listed on the Court's
matrix of 08/01/2018 in the foregoing matter with a copy of this Notice of Completed Plan and Request For Order
Granting Debtor's Discharge by depositing in the United States Mail a copy of same in a properly addressed
envelope with adequate postage thereon.

    Respectfully submitted this 1st day of August, 2018.

                                                                          /S/ Laurie K. Weatherford
                                                                          Chapter 13 Trustee
                                                                          Stuart Ferderer
                                                                          FL Bar No. 0746967
                                                                          Ana DeVilliers
                                                                          FL Bar No. 0123201
                                                                          Attorney for Trustee
                                                                          PO Box 3450
                                                                          Winter Park, FL 32790
                                                                          Telephone: 407-648-8841
                                                                          Facsimile: 407-648-2665
                                                                          E-mail: info@c13orl.com
